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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO.: 19-CV-21149-KMW


  BRADLEY FEINBERG,

         Plaintiff,

  v.

  ROYAL CARIBBEAN CRUISES, LTD.,
  A Liberian Corporation,

         Defendant.
                                                       /

                                     AMENDED COMPLAINT

         COMES NOW the Plaintiff, BRADLEY FEINBERG, by and through undersigned counsel

  and sues the Defendant, ROYAL CARIBBEAN CRUISES, LTD., and alleges as follows:

                                     GENERAL ALLEGATIONS

         1.      This is an action for damages which exceed Seventy-Five Thousand Dollars

  ($75,000.00), and the Court has diversity jurisdiction pursuant to 28 USC §1332.

         2.      In the event diversity jurisdiction does not apply, Plaintiff brings this action

  pursuant to the general maritime law of the United States as this action occurred on navigable

  waters and is a maritime cause of action.

         3.      The Plaintiff, BRADLEY FEINBERG (hereinafter “MR. FEINBERG”), was and is

  a resident and citizen of the State of New Jersey.

         4.      At all times material, the ROYAL CARIBBEAN CRUISES, LTD. (hereafter

  referred to as “ROYAL CARIBBEAN”), was and is a foreign corporation with its principal place

  of business in Miami-Dade County, Florida.
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         5.      At all times material hereto, ROYAL CARIBBEAN transported fare-paying

  passengers on cruises aboard the M/S ADVENTURE OF THE SEAS (hereinafter

  “ADVENTURE”) and other vessels. At all times material hereto, ROYAL CARIBBEAN owned,

  operated, managed, and/or controlled the ADVENTURE.

         6.      At all material times hereto, MR. FEINBERG was a fare paying passenger aboard

  the ADVENTURE for the purpose of enjoying a vacation cruise.

         7.      At all material times hereto, ROYAL CARIBBEAN owed a duty to MR.

  FEINBERG of using reasonable care under the circumstances in maintaining the premises of the

  ADVENTURE in a reasonably safe condition and operating the vessel in a reasonably safe manner.

         8.      On or about May 26, 2018, MR. FEINBERG was onboard the ADVENTURE. MR.

  FEINBERG was in his stateroom when he opened the cabin door to the hallway. The balcony door

  was also open at the same time and the closet door in his cabin was also open slightly.

         9.      Unbeknownst to MR. FEINBERG, but well-known to ROYAL CARIBBEAN,

  having the two doors of the cabin open at the same time created a wind tunnel effect. This wind-

  tunnel effect produces a swift rush of air through the cabin. This in turn caused the wooden closet

  door in the cabin to violently and unexpectedly fly open and strike the Plaintiff when the rushing

  wind caught the edge of the slightly open wooden closet door in the cabin.

         10.     MR. FEINBERG was forcefully struck by the closet door on the left side of his

  head and face. The powerful impact of the wooden closet door striking MR. FEINBERG in the

  head and face initially caused him to suffer headaches and pain on left side of his head and face.

         11.     MR. FEINBERG reported the incident to the ship’s crew and also went to the ship’s

  Medical Center for assessment of his headaches and pain on the left side of his head and face.




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         12.       Following MR. FEINBERG’S initial injury and as a direct result of the shipboard

  incident, MR. FEINBERG has suffered injuries that include, but are not limited to a traumatic

  brain injury, headaches, a concussion, left eye pain, vertigo, sensitivity to light, lightheadedness,

  and dizziness.

         13.       The incident occurred due to the dangerous condition which exists when the

  balcony door is opened and the cabin door is then opened, which creates a dangerous wind tunnel

  within the passenger cabin in combination with the closet door not having a latch or lock and not

  being a sliding type door and being open ever so slightly which no reasonable person would

  recognize as a potential danger in the circumstances and no mechanism for automatically closing

  either the balcony or closet door when both a simultaneously opened.

         14.       ROYAL CARIBBEAN has actual knowledge that a wind tunnel effect will be

  created when both cabin and balcony doors are open at the same time. However, ROYAL

  CARIBBEAN was negligent and failed to use ordinary reasonable care in the circumstances by

  failing to have a system whereby both doors could not be open at the same time and/or failing to

  have a closet door which latched and/or locked or by failing to have closet doors that slide open

  and shut and by failing to warn of dangerous conditions or adequately warn of these dangerous

  conditions.

         15.       ROYAL CARIBBEAN is aware of and has actual and/or constructive notice of the

  dangerous conditions. Upon information and belief, numerous other passenger guests have been

  seriously injured in similar prior accidents being struck by cabin doors when the balcony door is

  open including small children.

         16.       ROYAL CARIBBEAN is aware and on notice of prior similar accidents where

  cabin doors have violently struck guests, including their heads, necks, backs, arms, fingers, legs



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  and feet, causing serious injuries, including traumatic brain injuries, neurological and orthopedic

  injuries, as well as traumatic amputations of fingers. The same violent effect applies to the closet

  doors in the cabin of which Defendant had constructive if not actual notice given the nature of the

  dangerous conditions (wind tunnel effect) and the length of time the dangerous conditions existed

  prior to the date of injury in this case.

          17.     The dangers to the Plaintiff were not open or obvious to the Plaintiff under the

  exercise of reasonable care in the circumstances but were and/or should have been obvious to the

  Defendant.

          18.     At all times material, Plaintiff used reasonable care in the circumstances for his

  own safety.

          19.     ROYAL CARIBBEAN negligently failed to warn MR. FEINBERG, MR.

  FEINBERG’S family of the dangers, via reasonable, adequate and conscious warnings, including

  written and/or verbal warnings, of both the wind tunnel effect and the danger of having the closet

  door unlatched or unlocked or partially and slightly open when the cabin door and balcony door

  are open at the same time.

          20.     ROYAL CARIBBEAN knew or should have known of the dangerous and unsafe

  conditions alleged above and failed to take reasonable steps to correct the hazards or warn Plaintiff

  of the aforementioned hazards. Placing a simple latch or lock on closet doors in cabins with

  balconies with a sign affixed to the outside of the closet warning passengers to keep the closet

  doors latched or locked when not in use would not be prohibitively expensive. Defendant could

  also construct the balcony and cabin doors, Another solution would be to have constructed and/or

  maintained the balcony and cabin doors in such a way so as not to allow them to be open at the

  same time or construct and/or maintain closet doors that slide open and shut. This would have



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  completely eliminated the danger and obviate the need for a warning sign entirely. ROYAL

  CARIBBEAN did none of the foregoing to correct the problem despite having actual and/or

  constructive notice of the danger.

          21.     As a direct and proximate result of ROYAL CARIBBEAN negligence, MR.

  FEINBERG sustained serious and permanent injuries to his body and mind and will continue to

  suffer such injuries in the future.

          22.     All pre-conditions to this action have been met or waived.

                                        COUNT I - NEGLIGENCE

          23.     MR. FEINBERG adopts and re-alleges paragraphs 1 through 22 above as fully set

  forth herein.

          24.     On or about May 26, 2018, and continuing thereafter, ROYAL CARIBBEAN

  breached the duty owed to MR. FEINBERG by committing one or more of the following acts

  and/or was negligent in the operation, maintenance or control of the ADVENTURE in the

  following respects:

          a.      Failing to exercise reasonable care for the safety of its passengers, and
                  creating a dangerous condition in and around the cabin and closet doors;

          b.      Failing to provide closet, balcony and main cabin doors for passenger cabins
                  reasonably designed for the safety of its passengers;

          c.      Failing to properly maintain the closet door for use by passengers when both
                  cabin and balcony doors are open at the time by not having a latch or lock
                  to keep the closet doors shut tightly or by not having sliding closet doors
                  which would have eliminated the hazardous condition;

          d.      Failing to properly inspect the cabin, closet and the balcony doors prior to
                  the incident in question;

          e.      Failing to properly test the cabin and closet doors prior to the incident in
                  question;




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         f.     Failing to warn passengers, whom ROYAL CARIBBEAN knew or should
                have known would be using the cabin door and balcony door, of the
                dangerous condition which existed when passengers opened the cabin door
                and balcony door at the same time and specifically in regard to the closet
                door being forcefully and suddenly opened by a wind-tunnel effect when
                both cabin and balcony doors are open at the same time;

         g.     Failing to use appropriate safety devices for the closet door such as a latch
                or lock or to have sliding closet doors;

         h.     Failing to use appropriate opening and closing devices for the balcony and
                cabin doors in the cabin in order to eliminate or ameliorate the wind-tunnel
                effect;

         i.     Failing to properly and fully investigate similar incidents of wind-tunnel
                effects regarding the danger posed to passengers like Plaintiff involving the
                closet doors on its vessels;

         j.     Allowing a dangerous condition to exist notwithstanding prior incidents
                involving similar accidents aboard the ADVENTURE and other vessels in
                its fleet of cruise ships of a wind-tunnel effect created in the cabin when
                both cabin and balcony doors are open at the same time;

         k.     Failing to adequately investigate prior and subsequent incidents involving
                similar circumstances on the ADVENTURE and other vessels in its fleet of
                cruise ships;

         l.     Failing to post and/or otherwise communicate adequate warnings to
                passengers of the dangerous and unsafe condition in and about the cabin
                doors, closet doors and balcony door of the ADVENTURE at the time of
                the incident alleged herein;

         m.     Failing to assist Plaintiff or to provide reasonable in the circumstances
                adequate safety and care for passengers on the cruise ship;

         n.     Failing to devise a safety mechanism which would prevent both cabin and
                balcony doors from being fully opened at the same time;

         o.     Failing to adequately warn Plaintiff of the dangers of having both cabin and
                balcony and closet doors open at the same time;

         25.    ROYAL CARIBBEAN’S negligence, as described above, caused or contributed to

  causing the injuries MR. FEINBERG complains of in this lawsuit.




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         26.     As a result of the negligence of ROYAL CARIBBEAN onboard the

  ADVENTURE, MR. FEINBERG was injured about his body and extremities, suffered severe

  physical pain, mental and emotional anguish from his injuries, loss of enjoyment of life, physical

  disability, impairment, inconvenience in the normal pursuits of life, aggravation of any previously

  existing known and/or unknown conditions therefrom, incurred medical expenses in the care and

  treatment of his injuries and suffered physical handicap and suffered a loss of earning capacity.

  The injuries and damages are permanent or continuing in nature and MR. FEINBERG will suffer

  the losses and impairments in the future. In addition, MR. FEINBERG lost the benefit of his

  vacation cruise for which he incurred expenses, including, but not limited to the cost of the cruise

  ticket for himself and others as well as transportation costs.

         WHEREFORE, the Plaintiff, BRADLEY FEINBERG, demands judgment against the

  Defendant, ROYAL CARIBBEAN CRUISES, LTD., for compensatory damages, including pre-

  judgment interest, costs, and all damages allowable by maritime and state law, and further

  demands trial by jury of all issues so triable as a matter of right, as well as any further relief as

  this Court deems just and appropriate.

                 COUNT TWO- NEGLIGENT DESIGN AND CONSTRUCTION

  25.    Plaintiff reavers and realleges Paragraphs 1-22 and 24 as if set forth herein.

  26.    ROYAL CARIBBEAN actively participated in the design and construction of the

         ADVENTURE. Defendant, through its new-build department, in-house engineers,

         architects, designers and others actively participated in the design and construction of the

         flooring which caused Plaintiff’s injury and chose or participated in choosing the materials

         such as the non-locking or non-latching or non-sliding closet door and the cabin and

         balcony doors in cabins like MR. FEINBERG’s where the incident occurred.



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  27.   Defendant contracted with design firms to design and construct the closet, balcony and

        cabin doors where this incident occurred, contracted with the shipyard to build the ship,

        stationed representatives at the shipyard to oversee construction and design elements, and

        through the contract documents and relationship as owner had the ultimate ability to reject

        or accept the design, construction and materials used on the closet, balcony and cabin doors

        in the cabin where Plaintiff was injured.

  28.   Defendant was negligent in the design, construction, inspection and approval process of

        the ship for failing to select, construct and/or design proper closet and/or balcony and/or

        cabin doors which were and are reasonably safe in the circumstances.

  29.   Defendant knew or should have known through the exercise of reasonable care in the

        circumstances that the closet door without a latch or lock was unreasonably dangerous.

  30.   As a result of the negligence of the Defendant as aforesaid, the Plaintiff was injured in and

        about his body and extremities and suffered pain, mental and emotional distress and

        anguish therefrom; incurred medical expense and physical handicap and a loss of the ability

        to enjoy life; suffered an aggravation of known and unknown pre-existing conditions,

        suffered a loss of enjoyment and value of the cruise; suffered a loss of earning capacity.

        Said personal injuries are permanent and/or continuing in nature and the Plaintiff shall

        continue to suffer such losses and impairments in the future.

  31.   At all times material, Plaintiff acted with reasonable care for his own safety.




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         WHEREFORE, the Plaintiff, BRADLEY FEINBERG, demands judgment against the

  Defendant, ROYAL CARIBBEAN CRUISES, LTD., for compensatory damages, including pre-

  judgment interest, costs, and all damages allowable by maritime and state law, and further

  demands trial by jury of all issues so triable as a matter of right, as well as any further relief as

  this Court deems just and appropriate.


   Dated April 9, 2019.




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